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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

 ESTATE OF AARON D. STANTON, by
 DOUGLAS STANTON, Personal                         Case No. 3:23-cv-01767-AN
 Representative, and A. S., a minor, by and
 through her Guardian ad Litem,
 DOUGLAS STANTON,                                  DECLARATION OF DOUGLAS
                                                   STANTON IN SUPPORT OF
                                                   PLAINTIFFS’ MOTION FOR A
                       Plaintiffs,                 PROTECTIVE ORDER LIMITING THE
                                                   DEPOSTION OF MINOR PLAINTIFF
      v.                                           A.S.

 JOSHUA DYK and CITY OF
 PORTLAND, a municipal corporation,


                      Defendants.



I, Douglas Stanton, do hereby declare:


   1. I have been appointed guardian ad litem of A.S., my granddaughter, in this case. I make

       this declaration in support of Plaintiffs’ Motion for a protective order limiting the

       deposition of minor Plaintiff A.S.

   2. I see A.S. on a regular basis, many times a week. She has had many emotional outbursts

       in the aftermath of her father’s death and still experiences an occasional meltdown.
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A PROTECTIVE ORDER LIMITING THE DEPOSITION OF MINOR A.S.




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  3. A.S. was six at the time of the incident, and is now nine years old. A.S. is an intelligent

     child and outgoing with people she trusts and is comfortable with. However, she does not

     talk about her emotions very much. She talks about her dad often and the things they used

     to do together, but does not ever talk about the incident. Moreover, when A.S. feels

     overwhelmed emotionally, she cries, asks for mom, and is very emotionally vulnerable.

  4. Her mother, her grandmother, her uncles and I feel strongly that she would be

     overwhelmed by talking about the circumstances surrounding her father’s death,

     especially to someone that she does not know. I feel strongly about protecting her from

     more harm through this legal process including subjecting her to a deposition with a

     person she does not know.



  DATED: March 06, 2025.

                                            ________________________
                                            Douglas Stanton
                                            Plaintiff and GAL for A.S.




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A PROTECTIVE ORDER LIMITING THE DEPOSITION OF MINOR A.S.




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